      Case: 1:17-cv-05716 Document #: 34 Filed: 12/05/17 Page 1 of 1 PageID #:352




                                 UNITED STATES DISTRICT COURT
                                     Northern District of Illinois
                                     219 South Dearborn Street
                                       Chicago, Illinois 60604

Thomas G. Bruton                                                                      312-435-5670
Clerk



Date: 12/05/2017




Re: Kim v. A Place For Mom, Inc.

USDC Case Number: 1:17-cv-05716


Dear Clerk:

Pursuant to the order entered by Honorable Rebecca R. Pallmeyer, on 11/06/2017, the above
record was

                        electronically transmitted to U.S. District Court for the Western District of
          Washington

                        paper documents were sent via certified mail to




                                                       Sincerely,
                                                       Thomas G. Bruton, Clerk

                                                       By:     /s/ Emily Wall
                                                               Deputy Clerk


New Case No. ____________________________                    Date _____________________


cc:       Non-ECF Attorneys and Pro se Parties


Rev. 09/23/2016
